    Case 23-10843-SLM             Doc 29      Filed 06/15/23 Entered 06/16/23 09:36:27         Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                      Order Filed on June 15, 2023
ANDREW M. CARROLL                                                     by Clerk,
427 N. Packard St.                                                    U.S. Bankruptcy Court
Hammonton, NJ 08037                                                   District of New Jersey
AMC/0842




                                                                  Case No.:          23-10843
                                                                               ____________________
In Re:
Kassner, Walter and Darlene                                       Chapter:              13
                                                                               ____________________

                                                                  Judge:           Stacey L. Meisel
                                                                               ____________________



                        ORDER ON MOTION TO VACATE DISMISSAL OF CASE

     The relief set forth on the following page is hereby ORDERED.




    DATED: June 15, 2023
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        The debtor having filed a motion to vacate dismissal of case; and the court having
considered any objections filed; and for good cause shown; it is

         ORDERED that the motion is granted and the order dismissing case is vacated
effective on the date of this order. No actions taken during the period this case was dismissed
were subject to the automatic stay or other provisions of the Bankruptcy Code;

        IT IS FURTHER ORDERED that any deadline unexpired at the time of dismissal is
nullified and reset as follows. Creditors and/or parties in interest have:

        1.      until the original deadline fixed by the court to file a complaint to object to the
debtor’s discharge or dischargeability of certain debts, or 60 days from the date of this Order,
whichever is later;

        2.     until the original deadline fixed by the court to file a proof of claim or required
supplement, or 60 days from the date of this Order, whichever is later; and

        3.     until the original deadline fixed by the court to object to exemptions, or 30 days
from the date of this Order, whichever is later.

        IT IS FURTHER ORDERED that if the meeting of creditors has not been concluded, the
debtor must contact the case trustee to schedule a new date for the meeting, and must provide 21
days’ notice under Bankruptcy Rule 2002(a)(1) of the new date to all creditors and parties in
interest.

        IT IS FURTHER ORDERED that if this is a chapter 13 case, and the debtor’s plan has
not been confirmed, the confirmation hearing is rescheduled to __________________________
at ________.

 ORDERED that the motion to vacate order dismissing case is denied.

 ORDERED (Other): __________________________________________________________
                   Debtors must file a modified plan by 6/28/2023, AND, Debtors must be
by 6/28/2023. Failure to do so will result in dismissal without further notice or hearing.
_____________________________________________________________________________.

        IT IS FURTHER ORDERED that whether the motion is granted or denied, the debtor
must, within 3 days of the date of this Order, serve all creditors and parties in interest with a
copy of this Order and immediately thereafter file Local Form Certification of Service.


                                                                                           rev.4/28/2021


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